Case 1:22-cv-00596-RLY-TAB Document 10 Filed 04/21/22 Page 1 of 1 PageID #: 99




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

RICKY HURST,                                           )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 1:22-cv-00596-RLY-TAB
                                                       )
DICKINSON FLEET SERVICES, LLC,                         )
                                                       )
                               Defendant.              )

                                              ORDER

   The Court has been advised by counsel that a settlement has been reached in this action.

Therefore, any pending motions are denied as moot, and all previously ordered dates relating to

discovery, filings, schedules, conferences and trial, if any, are vacated. Parties shall file a

stipulation of dismissal within 45 days.

       Dated: 4/21/2022




                                            _______________________________
                                            Tim A. Baker
                                            United States Magistrate Judge
                                            Southern District of Indiana




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